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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



 RONALD-KENNETH STRASSER,                         Case No. 3:19-cv-1051-SI

               Plaintiff,                         JUDGMENT

        v.

 STATE OF OREGON, et al.

               Defendants.


       Based on the Court’s Opinion and Order dated November 5, 2021 (ECF 68) and the

Court’s Orders dated November 19, 2021 (ECF 72), January 18, 2022 (ECF 81), February 22,

2022 (ECF 91), and May 24, 2022 (ECF 103),

       IT IS ADJUDGED that this case is DISMISSED WITH PREJUDICE against

Defendants State of Oregon; Governor Kate Brown; Clackamas County Circuit Court Judges

Robert D. Herndon, Thomas J. Rastetter, and Jeffrey S. Jones; Clackamas County State Risk

Manager Shelley Hoffman; Oregon Department of Administrative Services Director Katy Coba;

Clackamas County Trial Court Administrator Debbie Spradley; Clackamas County District

Attorney John S. Foote; Clackamas County Assistant District Attorney Christopher Heywood;




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Samatha Olson, the Oregon Department of Public Safety Systems and Training; and all

Clackamas County clerks and their associates.

       IT IS FURTHER ADJUDGED this case is DISMISSED WITHOUT PREJUDICE

against all other Defendants.

       DATED this 24th day of May, 2022.

                                                 /s/ Michael H. Simon
                                                 Michael H. Simon
                                                 United States District Judge




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